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                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007

                                                     April 23, 2021

BY CM/ECF
The Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ari Teman, S2 19 Cr. 696 (PAE)

Dear Judge Engelmayer:

        The Government respectfully writes to address the Court’s inquiry about “whether and on
what terms restitution and/or forfeiture orders are merited.” See Dkt. No. 202 at 2. For the reasons
set forth below, the Government submits that restitution of $259,340.32 and forfeiture of $330,000
are warranted. A proposed Order of Restitution is attached as Exhibit A, and a proposed Order of
Forfeiture is attached as Exhibit B.

       A.      Background

        On January 3, 2020, the grand jury returned a Second Superseding Indictment (the
“Indictment”) charging Teman in six counts. See Dkt. No. 55. Counts One and Two each charged
bank fraud, in violation of 18 U.S.C. §§ 1344 and 2. Counts Three and Four each charged wire
fraud, in violation of 18 U.S.C. §§ 1343 and 2. Counts Five and Six, which the Government did
not proceed on at trial, each charged aggravated identity theft, in violation of 18 U.S.C. §§ 1028A
and 2.

        The Indictment also contained a forfeiture allegation advising the defendant that, as a result
of committing the bank fraud offenses in Counts One and Two, he “shall forfeit to the United
States, pursuant to Title 18, United States Code, Section 982(a)(2)(A), any and all property
constituting, or derived from, proceeds the defendant obtained directly or indirectly, as a result of
the commission of said offenses, including but not limited to a sum of money in United States
currency representing the amount of proceeds traceable to the commission of said offenses.” Id.
¶ 7. Likewise, the Indictment contained a forfeiture allegation advising the defendant that, as a
result of committing the wire fraud offenses in Counts Three and Four, he “shall forfeit to the
United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28 United
States Code, Section 2461(c), any and all property, real and personal, that constitutes or is derived
from proceeds traceable to the commission of said offenses, including but not limited to a sum of
money in United States currency representing the amount of proceeds traceable to the commission
of said offenses.” Id. ¶ 8.
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        Trial commenced on Counts One through Four on January 22, 2020. The Government’s
first witness was Karen Finocchiaro, a Vice President and Senior Fraud Investigator at Bank of
America, N.A. Finocchiaro testified and introduced bank records reflecting several aspects of
Teman’s fraud, including the fact that, in March 2019 and April 2019, Teman deposited a total of
29 fraudulent checks worth a total of $330,000 into a Bank of America account belonging to
GateGuard, Inc., a company he owned and controlled (the “GateGuard Account”). See, e.g., Trial
Tr. 196; GX 113. Immediately after depositing the checks into the GateGuard Account and
securing the funds, Teman transferred nearly all of the fraudulently obtained funds into other Bank
of America accounts he controlled in the names of other businesses and into a personal account in
his own name. See generally Government’s Memorandum of Law in Opposition to Defendant’s
Post-Trial Motions at 7-10 (Dkt. No. 112) (“Gov’t Post-Trial Brief”) (citing testimony and exhibits
regarding the transfer of funds between Teman’s accounts). Specifically, Teman transferred funds
from the GateGuard Account into an account in the name of Friend or Fraud Inc. (the “Friend or
Fraud Account”), an account in the name of Touchless Labs LLC (the “Touchless Labs Account”),
and an account in his own name (the “Ari Teman Account”). Id. at 6-7, 9-10. He later withdrew
$4,000 of these proceeds from the Friend or Fraud Account at a Bank of America branch in
Manhattan.

       After Teman deposited the checks and they were flagged as fraudulent, Bank of America
was required to and did return funds from the GateGuard Account – where the checks were
deposited – to the originating bank. Trial Tr. 208-09. In this process, sometimes referred to as a
“chargeback,” Bank of America drew the available funds from the GateGuard Account and then,
if none were available, repaid the originating bank using Bank of America’s own money.
Specifically, Finocchiaro testified that the bank was responsible for paying for a chargeback with
its own funds if the customer account had a deficit:

       Q.      What happens if there’s only $10 in that account and there’s a $50 chargeback?

       A.      It’s going to leave the account in a deficit of $40.

       ...

       Q.      And who would be responsible for those $40?

       A.      So it’s the responsibility of the customer to make good on the balance in the
               account; so if the account’s in a negative, that it is brought to a positive balance.

       Q.      Would the bank pay that $40 first?

       A.      It does. It does honor the chargeback, and it recourses the money back to the maker
               bank.

Trial Tr. 209-10. After chargebacks in the GateGuard Account, that account had a negative balance
of approximately $260,000.

        However, while Bank of America was required to return the proceeds of the fraudulent
checks from the GateGuard Account back to the originating banks, it was not permitted to reverse
the transfers from the GateGuard Account to Teman’s other accounts. Finocchiaro testified that


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Bank of America could not use funds from the Friend or Fraud Account, Touchless Labs Account,
or the Ari Teman Account to “offset” the negative balance in the GateGuard account because the
latter accounts were owned by different entities and had different tax identifier numbers:

       Q. You mentioned something about -- you mentioned something called an offset. I want
          to unpack that a little bit. If there is a negative account -- if there is a negative balance
          when a chargeback happens, does Bank of America try to take some steps to get some
          of that money so it can pay for the chargeback?

       A. We do. So we look at the events that occurred, so the transactions that were incoming,
          what was the trail of events after that, so we look to see where the funds were
          transferred to to see if we can offset to bring those funds back to cover the loss that’s
          being sustained.

       Q. If an individual had three accounts at the bank, for example, and there was a chargeback
          from one, could the bank try to use the funds in the other account to pay for it?

       A. So we do not have the right to offset when the tax identification number is different
          from one entity to the other.

       Q. So if it was an individual -- three personal accounts, would the bank typically be able
          to draw funds from the other accounts?

       A. Yes.

       Q. If it was for three different businesses, for three different tax numbers, would the bank
          typically be able to use the funds?

       A. We cannot offset our loss when it is a different tax identification number.

       Q. And based on your review of the records admitted into evidence earlier today, do you
          know if the three accounts that you talked about had different tax ID numbers?

       A. They did.

       Q. So as a general matter, is the bank able to recover funds from those three accounts?

       A. We were not.

Trial Tr. 234-36.

        Finocchiaro further testified that following the check deposits and chargebacks discussed
above, the positive balances in the Friend or Fraud Account, the Touchless Labs Account, and the
Ari Teman Account were set to “hold harmless” status. Id. at 233-34. Because the funds in that
holding status belong to the account holder, Bank of America mailed checks with the positive
balances to the account holder; however, the checks were returned to the bank through the mail.
Id. at 234 (“Q. What happened with those checks? A. The checks were returned in the mail for the
address.”).


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         On January 29, 2020, Teman was found guilty on Counts One through Four. On July 14,
2020, the Government filed its sentencing submission, in which it noted that it was seeking
restitution and forfeiture. Dkt. No. 150 at 9.

       The initial value for restitution and forfeiture – $259,988.17 – was based on a document that
had been produced prior to trial in the Section 3500 material for Finocchiaro. In that document, marked
as 3503-19 and attached hereto as Exhibit C, 1 Bank of America identified the loss in the GateGuard
Account ($259,988.17), which was also the amount it identified as its total loss. In the same document,
Bank of America noted that it had attempted to return the funds in hold harmless status, but the checks
had been returned to the bank. See id. (“Sent funds to customer, received in return mail, funds are in
Hold Harmless”).

        Because Teman indicated in his sentencing submission that he was “working diligently to
pay a significant portion, if not the entirety, of restitution before sentencing,” Dkt. No. 145 at 2,
the Government contacted Bank of America prior to the sentencing proceeding on December 1,
2020, to determine if its loss amount had changed in any way during the many months between
trial and sentencing. In turn, Bank of America notified the Government that it was no longer
considering certain fees charged in the GateGuard Account, such as overdraft fees, as part of its
loss amount. At the time, the Bank of America representative, Karen Finocchiaro, notified the
Government that the bank was able to offset its total loss amount by the value in Hold Harmless
in the Ari Teman Account. 2 The Government promptly noted this revised total loss amount in a
letter to the Court and the defense on November 30, 2020. On December 1, 2020, prior to
sentencing, the Government received and produced to the Court and the defense an updated version
of 3503-19, attached hereto as Exhibit D.

        Since the initial sentencing proceeding on December 1, 2020, the Government has further
communicated with Ms. Finocchiaro to obtain information about the bank’s loss. As explained in
the Affidavit of Karen Finocchiaro, dated April 2, 2021 (Exh. E) (“Finocchiaro Aff.”) and as the
Government represented prior to the December 1, 2020 sentencing, Bank of America is no longer
considering in its total loss amount certain fees charged in the GateGuard Account, such as
overdraft fees. Finocchiaro Aff. ¶ 6. Accordingly, its previous loss amount, $259,988.17, was
reduced by the value of the fees in the GateGuard Account, $647.85, for a revised total loss amount
of $259,340.32. Id. While Finocchiaro previously understood from other bank employees that the
loss in the GateGuard Account was offset by $13,477.37 in the Ari Teman Account, that was not
correct. Indeed, the Government has learned that, in February 2020, Bank of America sent Teman
checks for the funds in the Ari Teman Account ($13,477.37), the two Friend or Fraud Accounts

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  The Government also produced the email from Finocchiario to which 3503-19 was attached. This
email is marked in the Section 3500 material as 3503-18. In that email, Finocchiaro noted
“Summary of loss and amounts held in hold harmless for potential recovery. We are unable to
offset the loss with the funds in hold harmless as they were sent from different TAX ID’s. To date
there were no requests to have the funds resent based on the returned mail. Bank of America is
requesting to have the funds authorized by the judge to offset the loss in this matter.” At this time,
the Government is not seeking to forfeit the specific property in the Friend or Fraud Account or
the Touchless Labs Account.
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  As set forth below, Bank of America later notified the Government that there had been no offset,
and the money in the Ari Teman Account remained Teman’s.


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($8,413.69), and the Touchless Labs Account ($86,910.71) – all of which Teman received and
deposited. An updated version of 3503-19, prepared by Finocchiaro, is attached to her affidavit as
Exhibit 1.

       B.      Applicable Law

               1.      Restitution

        Title 18, United States Code, Section 3663A provides that a sentencing court, for
defendants convicted of offenses described in 18 U.S.C. § 3663A(c), “shall order, in addition to . . .
any other penalty authorized by law, that the defendant make restitution to the victim of the
offense, or if the victim is deceased, to the victim’s estate.” The offenses set forth in 18 U.S.C.
§ 3663A(c) include, inter alia, “an offense against property under this title . . . including an offense
committed by fraud or deceit.” A “victim,” for purposes of the restitution statute, is a person
“directly and proximately harmed as a result of the commission of an offense for which restitution
may be ordered, including, in the case of an offense that involves as an element a scheme,
conspiracy, or pattern of criminal activity, any person directly harmed by the defendant’s criminal
conduct in the course of the scheme, conspiracy, or pattern.” 18 U.S.C. § 3663A(a)(2).

          The Mandatory Victim Restitution Act (“MVRA”) provides a formula for calculating a
defendant’s restitution amount. See 18 U.S.C. § 3663A(b). The “primary and overarching goal of
the MVRA is to make victims of crime whole”: to “compensate these victims for their losses and
to restore the[m] to their original state of well-being.” United States v. Qurashi, 634 F.3d 699, 703
(2d Cir. 2011) (internal quotation marks omitted). To fulfill this objective without “award[ing] the
victim a windfall, i.e., more in restitution than he actually lost,” the MVRA caps the restitution
award at the actual “amount of the victim’s loss.” United States v. Thompson, 792 F.3d 273, 277
(2d Cir. 2015) (quoting United States v. Boccagna, 450 F.3d at 117)); see also United States v.
Coriaty, 300 F.3d 244, 252 (2d Cir. 2002) (“Unlike loss calculations, a court’s power to order
restitution is limited to actual loss.”) (internal quotation marks omitted). In the case of offenses
involving monetary loss, that amount equals “the greater of . . . the value of the property on the
date of the damage, loss, or destruction; or . . . the value of the property on the date of sentencing,
less . . . the value (as of the date the property is returned) of any part of the property that is
returned.” Thompson, 792 F.3d at 277 (quoting 18 U.S.C. § 3663A(b)(1)(B)). “In each order of
restitution, the court shall order restitution to each victim in the full amount of each victim’s losses
as determined by the court . . . .” 18 U.S.C. § 3664(f)(1)(A).

               2.      Forfeiture

         Forfeiture for a bank fraud violation is provided by 18 U.S.C. § 982(a)(2)(A), which states
that “[t]he court, in imposing sentence on a person convicted of a violation of, or a conspiracy to
violate [18 U.S.C. § 1344], shall order that the person forfeit to the United States any property
constituting, or derived from, proceeds the person obtained directly or indirectly, as the result of
such violation.” Forfeiture for a wire fraud violation is provided by 18 U.S.C. § 981(a)(1)(C),
which states that “[a]ny property, real or personal, which constitutes or is derived from proceeds
traceable to a violation of . . . any offense constituting ‘specified unlawful activity’ (as defined in
section 1956(c)(7) of this title), or a conspiracy to commit such offense” is “subject to forfeiture




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by the United States.” 3 Where a charging instrument gives notice of forfeiture and the defendant
is convicted of an offense for which forfeiture is authorized, “the court shall order the forfeiture
of the property as part of the sentence in the criminal case . . . .” 28 U.S.C. § 2461. For this reason,
courts have described criminal forfeiture as “mandatory.” See, e.g., United States v. Bodouva, 853
F.3d 76, 78, 79 (2d Cir. 2017) (“[f]orfeiture and restitution were mandatory in the present case”);
United States v. Espada, 128 F. Supp. 3d 555, 559 (E.D.N.Y. 2015) (“For certain statutorily
enumerated offenses . . . criminal forfeiture is a mandatory component of the defendant’s
sentence.”).

        “Sentencing courts determine forfeiture amounts by a preponderance of the evidence.”
United States v. Capoccia, 503 F.3d 103, 116 (2d Cir. 2007). Where, as here, forfeiture is sought
in the form of a personal money judgment, the district court “must determine the amount of money
that the defendant will be ordered to pay.” Fed. R. Crim. P. 32.2(b)(1)(A). “The court’s
determination may be based on evidence already in the record, including any written plea
agreement, and on any additional evidence or information submitted by the parties and accepted
by the court as relevant and reliable.” Fed. R. Crim. P. 32.2(b)(1)(B). “The calculation of forfeiture
amounts is not an exact science.” United States v. Treacy, 639 F.3d 32, 48 (2d Cir. 2011). The
Court is only required to “make a reasonable estimate,” based on “the available information.” Id.
(quotation marks omitted). Courts may use “general points of reference as a starting point” and
“make reasonable extrapolations from the evidence.” Id.

        Further, a defendant is liable for the full amount of proceeds he controlled, without regard
to whether he retained them or transferred them to others. See Rajaratnam v. United States, 2018
WL 2460337, at *3 (2d Cir. June 1, 2018) (summary order) (“Even if those proceeds subsequently
were distributed to investors, with [defendant] personally retaining only a percentage as
management fees, he nonetheless had authority over disbursements, and, thus, exercised ‘control’
over the proceeds ‘at some point.’”) (internal quotation omitted); United States v. Ohle, 441 F.
App’x 798, 803 (2d Cir. 2011) (rejecting challenge to forfeiture order that “appears to rest on the
mistaken premise that [defendant] can only be required to forfeit fraud proceeds that he personally
kept”); United States v. Uddin, 551 F.3d 176, 181 (2d Cir. 2009) (affirming forfeiture order based
on entire amount of proceeds initially received by defendant, “whether or not Uddin shared the
cash he received”); see also 21 U.S.C. § 853(p)(1)(B) (permitting forfeiture of substitute assets
from defendant where he has caused forfeitable property to be “transferred or sold to, or deposited
with, a third party.”).

        “Restitution and forfeiture are authorized by different statutes and serve different
purposes—one of remediating a loss, the other of disgorging a gain.” United States v. Torres, 703
F.3d 194, 196 (2d Cir. 2012). “Criminal forfeiture is a form of punishment. As such, it is distinct
from restitution or other remedial actions, which are intended to return the victim and the
perpetrator to the status quo that existed before the violation took place.” United States v. Peters,
732 F.3d 93, 101 (2d Cir. 2013). Indeed, the relevant statutory scheme does not permit a sentencing
court to “reduce the mandated criminal forfeiture order because the defendant also had to satisfy
her obligation to pay restitution” or had already substantially done so. United States v. McGinty,
610 F.3d 1242, 1248 (10th Cir. 2010). In United States v. Bodouva, 853 F.3d 76, the Second Circuit

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  Section 1956(c)(7)(A) in turn refers offenses listed in Section 1961(1), which include wire fraud,
in violation of 18 U.S.C. § 1343.


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rejected an argument that imposition of restitution and forfeiture amounted “to an unfair double
disgorgement” in light of the “distinct purposes of forfeiture and restitution.” Id. at 79. The Second
Circuit held that a sentencing court may not reduce the amount of forfeiture to account for a
restitution order in the absence of a statutory offset. Id. at 79-80; accord id. at 78-79 (“Because the
statutory schemes authorizing restitution and forfeiture are separate, district courts are bound not
to reduce the amount of a mandatory criminal forfeiture order by the amount of past or future
restitution payments, in the absence of specific statutory authorization to do so.”); see also United
States v. Pescatore, 637 F.3d 128, 137-38 (2nd Cir. 2011) (“[W]e see nothing in the statutory
provisions, DOJ’s normal operating procedures, or the Plea Agreement that required the
Department to use the forfeited assets to relieve [the defendant] of his restitution obligations.”).

        Because restitution and forfeiture are authorized by different statutes and defined
differently, the Court may order different values for restitution and forfeiture. See Torres, 703 F.3d
at 203 (noting that restitution and forfeiture amounts “may often be different”); see, e.g., United
States v. Bergstein, No. 16 Cr. 746 (PKC), 2018 WL 9539768, at *2 (S.D.N.Y. Sept. 20, 2018)
(imposing different restitution and forfeiture amounts).

       C.      Restitution

         The Government respectfully submits that the Court should enter the proposed Order of
Restitution, attached hereto as Exhibit A, as part of Teman’s sentence. The proposed order seeks
restitution of $259,340.32. As set forth above, this restitution amount reflects: (1) the deficit in the
GateGuard Account after Teman fraudulently deposited checks into that account, transferred the
bulk of that money to other accounts he controlled, and then left Bank of America to repay the
originating banks for his fraud ($259,988.17); and (2) less certain fees charged in the GateGuard
Account that Bank of America is no longer seeking to recover ($647.85). See Finocchiaro Aff.
¶¶ 3, 6. Accordingly, Bank of America’s total loss, $259,340.32, constitutes the “full amount of
[the] victim’s losses,” and the Court should enter the Order of Restitution at sentencing.

       D.      Forfeiture

        The Government respectfully submits that the Court should enter the proposed Preliminary
Order of Forfeiture, attached hereto as Exhibit B, and include it as part of Teman’s sentence. For
the reasons set forth above, the amount listed in the forfeiture order, $330,000, represents “property
constituting, or derived from, proceeds the person obtained directly or indirectly, as the result of
[a violation of 18 U.S.C. § 1344]” and “property, real or personal, which constitutes or is derived
from proceeds traceable to a violation of [18 U.S.C. § 1343].” 18 U.S.C. §§ 982(a)(2)(A) and
981(a)(1)(C).

        Because $330,000 is the amount Teman obtained control over, he is liable for forfeiture in
the amount of those proceeds. See Peters, 732 F.3d at 104; Contorinis, 692 F.3d at 147. The fact
that Teman, having obtained control of his crime proceeds, later directed them to other accounts
or lost control of the funds in a charge back is immaterial – he remains liable for the full amount
he acquired. See Rajaratnam, 2018 WL 2460337, at *3; Ohle, 441 F. App’x at 803; Uddin, 551
F.3d at 181.




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         Pursuant to 28 U.S.C. § 2461, the Government respectfully submits that forfeiture is
mandatory in this case. Furthermore, the Government has identified no offset that applies in this
case and that would permit the Court to reduce the value of forfeiture in light of the proposed
restitution order. See, e.g., 18 U.S.C. § 981(a)(2)(C) (permitting an offset in cases involving fraud
in the process of obtaining a loan). Nor does the Government believe imposing both restitution
and forfeiture orders leads to an unjust or inequitable result; the two statutory frameworks speak
to separate, important purposes.


                                                       Respectfully submitted,

                                                       AUDREY STRAUSS
                                                       United States Attorney

                                                 By:       /s/
                                                       Kedar S. Bhatia
                                                       Assistant United States Attorney
                                                       (212) 637-2465




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